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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,              No. CR 20-255-DMG
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               Plaintiff,                   PROTECTIVE ORDER REGARDING
12                                          DISCOVERY CONTAINING PERSONAL
               v.                           IDENTIFYING INFORMATION AND
13                                          PRIVACY ACT INFORMATION [31]
     CARL DE VERA BENNINGTON,
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               Defendant.
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 1        The Court has read and considered the parties’ Stipulation for

 2   a Protective Order Regarding Discovery Containing Personal

 3   Identifying Information and Privacy Act Information, filed by the

 4   government and defendant CARL BENNINGTON (“defendant”) in this

 5   matter on July 2, 2020, which this Court incorporates by reference

 6   into this order, and FOR GOOD CAUSE SHOWN the Court hereby FINDS AND

 7   ORDERS as follows:

 8        1.    The government’s discovery in this case relates to

 9   defendant’s alleged crimes, that is, violations of 18 U.S.C.

10   §§ 2261A (Cyberstalking) and 875(c) (Transmitting Threats in

11   Interstate Commerce).

12        2.     A protective order for the discovery is necessary so that

13   the government can produce to the defense materials containing third

14   parties’ PII.    The Court finds that disclosure of this information

15   without limitation risks the privacy and security of the

16   information’s legitimate owners.       Because the government has an

17   ongoing obligation to protect third parties’ PII, the government

18   cannot produce to defendant an unredacted set of discovery

19   containing this information without this Court entering the

20   Protective Order.    Moreover, PII makes up a significant part of the

21   discovery in this case and such information itself, in many

22   instances, has evidentiary value.          If the government were to attempt

23   to redact all this information in strict compliance with Federal

24   Rule of Criminal Procedure 49.1, the Central District of

25   California’s Local Rules regarding redaction, and the Privacy Policy

26   of the United States Judicial Conference, the defense would receive

27   a set of discovery that would be highly confusing and difficult to

28   understand, and it would be challenging for defense counsel to

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 1   adequately evaluate the case, provide advice to defendant, or

 2   prepare for trial.

 3        3.    An order is also necessary because the government intends

 4   to produce to the defense materials that may contain information

 5   within the scope of the Privacy Act, 5 U.S.C. § 552a (“Privacy Act

 6   Information”).    The Court finds that, to the extent that these

 7   materials contain Privacy Act information, disclosure is authorized

 8   pursuant to 5 U.S.C. § 552a(b)(11).

 9        4.    The purpose of this Protective Order is therefore to

10   (a) allow the government to comply with its discovery obligations

11   while protecting this sensitive information from unauthorized

12   dissemination, and (b) provide the defense with sufficient

13   information to adequately represent defendant.

14        5.    Accordingly, the discovery that the government will

15   provide to defense counsel in the above-captioned case will be

16   subject to this Protective Order, as follows:

17              a.    As used herein, “PII Materials” includes any

18   information that can be used to identify a person, including a name,

19   address, date of birth, Social Security number, driver’s license

20   number, telephone number, account number, email address, or personal

21   identification number.

22              b.     “Confidential Information” refers to any document or

23   information containing PII Materials that the government produces to

24   the defense pursuant to this Protective Order and any copies

25   thereof.

26              c.    “Defense Team” includes (1) defendant’s counsel of

27   record (“defense counsel”); (2) other attorneys at defense counsel’s

28   law firm who may be consulted regarding case strategy in this case;

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 1   (3) defense investigators who are assisting defense counsel with

 2   this case; (4) retained experts or potential experts; and

 3   (5) paralegals, legal assistants, and other support staff to defense

 4   counsel who are providing assistance on this case.          The Defense Team

 5   does not include defendant, defendant’s family members, or any other

 6   associates of defendant.

 7              d.    The government is authorized to provide defense

 8   counsel with Confidential Information marked with the following

 9   legend: “CONFIDENTIAL INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE

10   ORDER.”   The government may put that legend on the digital medium

11   (such as DVD or hard drive) or simply label a digital folder on the

12   digital medium to cover the content of that digital folder.           The

13   government may also redact any PII contained in the production of

14   Confidential Information.

15              e.    If defendant objects to a designation that material

16   contains Confidential Information, the parties shall meet and

17   confer.   If the parties cannot reach an agreement regarding

18   defendant’s objection, defendant may apply to this Court to have the

19   designation removed.

20              f.    Defendant and the Defense Team shall use the

21   Confidential Information solely to prepare for any pretrial motions,

22   plea negotiations, trial, and sentencing hearing in this case, as

23   well as any appellate and post-conviction proceedings.

24              g.    The Defense Team shall not permit anyone other than

25   the Defense Team to have possession of Confidential Information,

26   including defendant, while outside the presence of the Defense Team.

27              h.     Defendant may review PII Materials only in the

28   presence of a member of the Defense Team, who shall ensure that

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 1   defendant is never left alone with any PII Materials.          At the

 2   conclusion of any meeting with defendant at which defendant is

 3   permitted to view PII Materials, defendant must return any PII

 4   Materials to the Defense Team, and the member of the Defense Team

 5   present shall take all such materials with him or her.          Defendant

 6   may not take any PII Materials out of the room in which defendant is

 7   meeting with the Defense Team.

 8                i.   Defendant may see and review Confidential Information

 9   as permitted by this Protective Order, but defendant may not copy,

10   keep, maintain, or otherwise possess any Confidential Information in

11   this case at any time.     Defendant also may not write down or

12   memorialize any data or information contained in the Confidential

13   Information.

14                j.   The Defense Team may review Confidential Information

15   with a witness or potential witness in this case, including

16   defendant.    A member of the Defense Team must be present if PII

17   Materials are being shown to a witness or potential witness.            Before

18   being shown any portion of Confidential Information, however, any

19   witness or potential witness must be informed of, and agree in

20   writing to be bound by, the requirements of the Protective Order.

21   No member of the Defense Team shall permit a witness or potential

22   witness to retain Confidential Information or any notes generated

23   from Confidential Information.

24                k.   The Defense Team shall maintain Confidential

25   Information safely and securely, and shall exercise reasonable care

26   in ensuring the confidentiality of those materials by (1) not

27   permitting anyone other than members of the Defense Team, defendant,

28   witnesses, and potential witnesses, as restricted above, to see

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 1   Confidential Information; (2) not divulging to anyone other than

 2   members of the Defense Team, defendant, witnesses, and potential

 3   witnesses, the contents of Confidential Information; and (3) not

 4   permitting Confidential Information to be outside the Defense Team’s

 5   offices, homes, vehicles, or personal presence.

 6              l.    To the extent that defendant, the Defense Team,

 7   witnesses, or potential witnesses create notes that contain, in

 8   whole or in part, Confidential Information, or to the extent that

 9   copies are made for authorized use by members of the Defense Team,

10   such notes, copies, or reproductions become Confidential Information

11   subject to the Protective Order and must be handled in accordance

12   with the terms of the Protective Order.

13              m.    The Defense Team shall use Confidential Information

14   only for the litigation of this matter and for no other purpose.

15   Litigation of this matter includes any appeal filed by defendant and

16   any motion filed by defendant pursuant to 28 U.S.C. § 2255.           In the

17   event that a party needs to file Confidential Information with the

18   Court or divulge the contents of Confidential Information in court

19   filings, the filing should be made under seal.         If the Court rejects

20   the request to file such information under seal, the party seeking

21   to file such information publicly shall provide advance written

22   notice to the other party to afford such party an opportunity to

23   object or otherwise respond to such intention.         If the other party

24   does not object to the proposed filing, the party seeking to file

25   such information shall redact any PII Materials and make all

26   reasonable attempts to limit the divulging of PII Materials.

27              n.    Any Confidential Information inadvertently produced

28   in the course of discovery prior to entry of the Protective Order

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 1   shall be subject to the terms of this Protective Order.           If

 2   Confidential Information was inadvertently produced prior to entry

 3   of the Protective Order without being marked “CONFIDENTIAL

 4   INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE ORDER,” the government

 5   shall reproduce the material with the correct designation and notify

 6   defense counsel of the error.      The Defense Team shall take immediate

 7   steps to destroy the unmarked material, including any copies.

 8              o.    Confidential Information shall not be used by any

 9   member of the defense team, in any way, in any other matter, absent

10   an order by this Court.     All materials designated subject to the

11   Protective Order maintained in the Defense Team’s files shall remain

12   subject to the Protective Order unless and until such order is

13   modified by this Court.     Within 30 days of the conclusion of

14   appellate and post-conviction proceedings, defense counsel shall

15   return all PII Materials, certify that such materials have been

16   destroyed, or certify that such materials are being kept pursuant to

17   the California Business and Professions Code and the California

18   Rules of Professional Conduct.

19              p.    In the event that there is a substitution of counsel

20   prior to when such documents must be returned, new defense counsel

21   must be informed of, and agree in writing to be bound by, the

22   requirements of the Protective Order before defense counsel

23   transfers any Confidential Information to the new defense counsel.

24   New defense counsel’s written agreement to be bound by the terms of

25   the Protective Order must be returned to the Assistant U.S. Attorney

26   assigned to the case.     New defense counsel then will become the

27   Defense Team’s custodian of materials designated subject to the

28   Protective Order and shall then become responsible, upon the

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 1   conclusion of appellate and post-conviction proceedings, for

 2   returning to the government, certifying the destruction of, or

 3   retaining pursuant to the California Business and Professions Code

 4   and the California Rules of Professional Conduct all PII Materials.

 5              q.    Defense counsel shall advise defendant and all

 6   members of the Defense Team of their obligations under the

 7   Protective Order and ensure their agreement to follow the Protective

 8   Order, prior to providing defendant and members of the Defense Team

 9   with access to any materials subject to the Protective Order.

10        IT IS SO ORDERED.

11
     July 8, 2020
12   DATE                                       DOLLY M. GEE
                                                UNITED STATES DISTRICT JUDGE
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